                IN THE SUPREME COURT OF PENNSYLVANIA
                           WESTERN DISTRICT


DEBORA A. STUBITS, ADMINISTRATRIX : No. 250 WAL 2016
OF THE ESTATE OF RICHARD F.        :
DOMBROWSKI                         : Petition for Allowance of Appeal from
                                   : the Unpublished Judgment Order and
           v.                      : Order of the Superior Court at No. 1160
                                   : WDA 2015 entered on May 26, 2016,
GOLDEN GATE NATIONAL SENIOR        : affirming the Order Entered of the Erie
CARE, LLC; GGNSC ERIE WESTERN      : County Court of Common Pleas at No.
RESERVE, LP, D/B/A GOLDEN LIVING   : 12386 of 2014 entered on July 8, 2015
CENTER-WESTERN RESERVE; GGNSC :
HOLDINGS, LLC; GGNSC EQUITY        :
HOLDINGS, LLC; GGNSC               :
ADMINISTRATIVE SERVICES, LLC;      :
GGNSC CLINICAL SERVICES, LLC;      :
GOLDEN GATE ANCILLARY LLC; GPH     :
ERIE WESTERN RESERVE LLC; GGNSC :
ERIE WESTERN RESERVE GP LLC;       :
ELIZABETH KACHEL, NHA; DENISE      :
CURRY, RVP; MILLCREEK COMMUNITY :
HOSPITAL; MILLCREEK HEALTH         :
SYSTEM                             :
                                   :
                                   :
PETITION OF: GOLDEN GATE           :
NATIONAL SENIOR CARE, LLC; GGNSC :
ERIE WESTERN RESERVE, LP, D/B/A    :
GOLDEN LIVING CENTER-WESTERN       :
RESERVE; GGNSC HOLDINGS, LLC;      :
GGNSC EQUITY HOLDINGS, LLC;        :
GGNSC ADMINISTRATIVE SERVICES,     :
LLC; GGNSC CLINICAL SERVICES, LLC; :
GOLDEN GATE ANCILLARY LLC; GPH     :
ERIE WESTERN RESERVE LLC; GGNSC :
ERIE WESTERN RESERVE GP LLC;       :
ELIZABETH KACHEL, NHA; DENISE      :
CURRY, RVP                         :
                                   :
                                   :
                                       ORDER



PER CURIAM

      AND NOW, this 17th day of November, 2016, the Petition for Allowance of Appeal

is GRANTED. The Superior Court’s order is VACATED. This matter is REMANDED

for proceedings consistent with the decision in Taylor v. Extendicare Health Facilities,

Inc., ___ A.3d ___, 2016 WL 5630669 (Pa. September 28, 2016).




                                  [250 WAL 2016] - 2
